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      5   Attorney for Defendant
                    PATRICIA WHYMS
      6

      7

      8
                             IN THE UNITED STATES DISTRICT COURT
      9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
     10

     11   UNITED STATES OF AMERICA,                ) Case No. CR-F-05-0033 OWW
                                                   )
     12                 Plaintiff,                 ) NOTICE OF REQUEST FOR
                                                   ) PERMISSION TO TRAVEL OUTSIDE
     13           vs.                              ) THE EASTERN DISTRICT AND
                                                   )
     14   PATRICIA WHYMS,                          ) ATTACHED ORDER
                                                   )
     15                 Defendant.                 )
                                                   )
     16

     17

     18   TO THE UNTIED STATES ATTORNEY AND KIMBERLY KELLY, ASSISTANT
     19   UNITED STATES ATTORNEY:
     20   Please take notice that the above named defendant was released
     21   to the custody of a third party custodian.           Ms. Whyms has
     22   requested permission from Ms. Daulton, her pretrial officer, to
     23   travel to her home state of Washington on August 10, 2005 and to
     24   return to the Eastern District of California on or before August
     25   18, 2005.      The purpose of this request is two-fold:
     26      1.     Ms. Whyms sister is getting married during that time
     27             period; and
     28   ///



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      1      2.     That Ms. Whyms needs to retrieve her personal belongings
      2             in Washington.
      3   Ms. Whyms was told she needed a signed order from this Honorable
      4   Court prior to departure.
      5   DATED: 7/18/05
      6

      7
                                                 STEVEN L. CRAWFORD, Attorney for
      8
                                                 Patricia Whyms
      9

     10                                          ORDER
     11
                  It is hereby ordered that PATRICIA WHYMS can travel to the
     12
          State of Washington for the purpose of attending her sister’s
     13
          wedding and retrieving her personal belongings.            Ms. Whyms shall
     14

     15   depart on August 10, 2005 and return no later than August 18,

     16   2005.
     17
          Dated:       August 15, 2005
     18
                                          /s/ OLIVER W. WANGER
     19

     20
                                          UNITED STATES DISTRICT COURT JUDGE
     21                                   EASTERN DISTRICT OF CALIFORNIA

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